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IN THE UNITED STATES DISTRICT COURT

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WESTERN DIVISION

 

 

JEH, INC., and ERIC HINSHAW
Plaintiffs,

vs. No. 05-2509 Ma/V
vOLVO CONSTRUCTION EQUIPMENT,
RENTS, INC.; VOLVO CONSTRUCTION
EQUIPMENT NORTH AMERICA, INC.;
VOLVO COMMERCIAL FINLNCE LLC
THE AMERICAS; and SCOTT
CONSTRUCTION EQUIPMENT CO.,
LLC,

Defendants.

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ORDER DENYING PLAINTIFF'S MOTION TO COMPEL DEPOSITIONS AS MOOT

 

Before the court is the July 25, 2005 motion of the
plaintiffs, JEH, Inc., and Eric Hinshaw, to compel the depositions
of Steve Smith and Chris Kellet. The motion has been referred to
the United States Magistrate Judge for determination. For the
following reasons, the motion is denied as moot.

This action arises from an alleged breach of franchise
agreement between the plaintiffs and the defendants, volvo
Construction Equipment Rents, Inc. (“Volvo Rents”). On duly l,
2005, the plaintiffs' filed suit for rescission, damages, and
declaratory judgment in the Chancery Court of Shelby' County,

Tennessee. On July 5, 2005, volvo Commercial Finance LLC of The

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Americas (“volvo Finance”) issued to the plaintiffs a notice of
default on a debt that the plaintiffs had allegedly incurred under
the franchise agreement.

The plaintiffs requested a temporary restraining order against
all defendants claiming that the notice of default was filed in
retaliation for the plaintiffs filing suit. The request for the
restraining order was granted on J‘uly 6, 2005 by Judge James
Russell.

On duly 15, 2005, the defendants removed the case to the
United States District Court. On July 20, 2005, the plaintiffs
requested that the restraining order granted in state court be
extended by the District Court. Pursuant to 28 U.S.C. § 1450,
Judge Samuel H. Mays held that the restraining order would remain
in full force and effect until a hearing could be held on the
plaintiffs' request for a preliminary injunction. A hearing was
set before Judge Mays for July 27, 2005 to determine the status of
the temporary restraining order and to hear arguments on the
plaintiffs' request for a preliminary injunction.

On July 25, 2005, the plaintiffs filed a motion for a short
continuance on the temporary injunction hearing and a motion to
compel the depositions of Steve Smith and Chris Kellet, employees
of volvo Rents. At the July 27, 2005 hearing the plaintiffs again

requested a delay in the Judge's decision pending the deposition of

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Steve Smith and Chris Kellet. This request was denied. After
hearing arguments from counsel and testimony of witnesses,
including Steve Smith, the court denied the request to continue the
temporary restraining and for a preliminary injunction.

The court has this dayl entered a scheduling order' which
provides that the matters at issue between the plaintiffs and volvo
Rents be stayed while the plaintiffs and volvo Rents engage in the
mediation. Accordingly, the plaintiffs' motion to compel the
depositions of Chris Killet and Steve Smith is moot and is denied
as such.

IT IS SO ORDERED this 22nd day of August, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
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Kenny W. Armstrong

CHANCERY COURT7 301H IUDICIAL DISTRICT
140 Adams Ave.

Rm. 308

1\/1emphis7 TN 38103

Stephen P. Hale

HUSCH & EPPENBERGER
200 .1 efferson Ave.

Ste. 1450

1\/1emphis7 TN 38103

Amy E. Ferguson
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Eugene .1. Podesta

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Glen G. Reid

WYATT TARRANT & CO1\/113S
P.O. Box 775000

1\/1emphis7 TN 38177--500

Robert E. Craddock

WYATT TARRANT & CO1\/113S
P.O. Box 775000

1\/1emphis7 TN 38177--500

Thomas F. Barnett

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Case 2:O5-cv-O2509-SHI\/|-dkv Document 42

C. Barry Ward

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Margaret A. Reid

HUSCH & EPPENBERGER, LLC
200 .1 efferson Avenue

Suite 1450

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

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